Case 2:05-cr-80955-AC-RSW ECF No. 1066, PageID.6135 Filed 09/09/08 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                              CRIMINAL NO. 05-80955
                    Plaintiff,
                                              HONORABLE AVERN COHN
v.


D-34, WAYNE DARNELL JOYNER,
D-39, WILLIAM RICHARD TURNER,

                    Defendants.
                                        /

UNITED STATES OF AMERICA,
                                              CRIMINAL NO. 06-20663
                    Plaintiff,
                                              HONORABLE AVERN COHN
v.


D-13, RICARDO DENARD MCFARLIN,

                    Defendant.
                                        /

                             ORDER REGARDING FILINGS


      These are criminal cases.

      Defendant Wayne Darnell Joyner (Joyner) pled guilty to two (2) conspiracy charges:

possess with intent to distribute 5 kilograms or more of cocaine and to launder monetary

instruments. Joyner has been sentenced.

      Defendant William Richard Turner (Turner) pled guilty to two (2) conspiracy charges:

possess with intent to distribute 5 kilograms or more of cocaine and to launder monetary

instruments. Turner is awaiting sentencing.
Case 2:05-cr-80955-AC-RSW ECF No. 1066, PageID.6136 Filed 09/09/08 Page 2 of 3




       Defendant Ricardo McFarlin (McFarlin) pled guilty to two (2) conspiracy charges:

possess with intent to distribute 5 kilograms or more of cocaine and to launder monetary

instruments. McFarlin is awaiting sentencing.

       For some time now, Joyner and McFarlin and most recently Turner each have been

filing voluminous papers, the contents of which are unintelligible. In addition, Donun Ali

El Bey has attempted to file voluminous papers on behalf of Joyner and McFarlin, the

contents of which are unintelligible. The latest filing is eight (8) inches thick. Kuran El Bey

has also filed papers on behalf of Turner which are also unintelligible.

       Joyner, McFarlin and Turner are ORDERED to stop filing such papers.

       Donun Ali El Bey and Kuran El Bey are ORDERED to stop filing such papers.

       The papers recently sent by Donun Ali El Bey and received in the Office of the Clerk

shall be sent back.

       Only papers in the form of a motion relevant to the status of Joyner as a sentenced

offender and McFarlin and Turner as offenders awaiting sentencing may be filed. To

assure the directive is followed, papers filed by Joyner, McFarlin or Turner will first be

examined by the Court to determine if they are eligible for filing.

       Failure to comply with this order will result in contempt proceedings.

       SO ORDERED.



Dated: September 9, 2008                    s/Avern Cohn
                                           AVERN COHN
                                           UNITED STATES DISTRICT JUDGE




                                        Page 2 of 3
Case 2:05-cr-80955-AC-RSW ECF No. 1066, PageID.6137 Filed 09/09/08 Page 3 of 3




                      05-80955-34, 39 USA v. Joyner, Turner; 06-20663-13 USA v. McFarlin

                              CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document was mailed to the attorneys of record
and:

Ricardo McFarlin, 16242 Cruse, Detroit, MI 48235,

Wayne Darnell Joyner, 3359 Shallow Pond, Las Vegas, NV 89117,

William Turner, 23345 Williamsburg Circle, Apt. F, Woodhaven, MI 48183,

Donun Ali El Bey, 19875 W. 12 Mile Rd, Suite 544, Southfield, MI 48076 and

Kuran El Bey, 19875 W. 12 Mile Rd, Suite 544, Southfield, MI 48076

on this date, September 9, 2008, by electronic and/or ordinary mail.


                                           s/Julie Owens
                                          Case Manager, (313) 234-5160




                                       Page 3 of 3
